Case 2:03-cr-20383-.]PI\/| Document 77 Filed 05/06/05 Page 1 of 2 Page|D 110

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UNITED STATES OF AMERICA

 

cR. No. 03- 20383’1»:1\_.~`::
'VS.

DAMARCIUS WJ:LLIAMS )
)

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDU'M

The United States Attorney's Office applies to the Court for a Writ
to have DAMARCIUS WILLIAMS, DOB: 08/14/76, SSN: XXX-XX-XXXX, RNI: 324928,
now being detained in the Fayette County Jail, appear before the
Honorable Jon P. McCalla on May 19, 2005 @ 2:30 p.m. for Sentencing and

for such other appearances as this Court may direct.

Respeotfully submitted this 6th day of May, 2005.

€/M
E. Greg)Gilluly, Jr. "\\é
Special Assistant U. S. Attorn y
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Upon consideration of the foregoing Application, Dmnn JommY, U.S.
MARSHAL, WESTERN DIsTRIcT oF TENNESSEE, MEMPHIS, TN., SHERIFF/WDRREN, FAXETTE CouNTY

JAIL

YOUR ARE HEREBY COMM.ANDED to have DAMARCIUS WILLIAMS DOB: 08 14 76

 

SSN: XXX-XX-XXXX, RNI: 324928, appear before the Honorable Jon P. McCalla
on the date and time aforementioned.

bn
ENTERED this f§r day of May, 2005.

adm m f @M//

UNITED STATES MAGISTR.ATE J`UDGE

ThlS document entered on the docket sheet in compliance

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UNITED sETATSDlSTRICT COURT - WESTER DISTRICT TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
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Greg Gilluly

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Honorable J on McCalla
US DISTRICT COURT

